                            UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
______________________________________
                                          :
Lisa England,                             :
                                          : Civil Action No.: 1:11-cv-00192-UA-LPA
                                          :
                      Plaintiff,          :
       v.                                 :
                                          :
Central Credit Services, Inc.,            :
                                          :
                      Defendant.          :
______________________________________ :
                                          :
                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to dismiss the litigation with

prejudice;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed with prejudice and without costs to any party.

 Lisa England                                  Central Credit Services, Inc.

 ___/s/ Stacie Saunders-Watson_____            ____/s/ Caren D. Enloe______

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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 6, 2011, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the Middle District of North
Carolina Electronic Document Filing System (ECF) and that the document is available on the
ECF system.
                                              By_/s/ Stacie Watson_________
                                                    Stacie Watson




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